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                                          UNITED STATES DISTRICT COURT
                                                      SOUTHERN DISTRICT OF GEORGIA
                                                           SAVANNAH DIVISION
             UNITED STATES OF AMERICA                                       )        JUDGMENT IN A CRIMINAL CASE
                                                                            )
                                  v.                                        )
                        Hakeem Campbell                                     )
                       aka “Terry Walker”                                   )        Case Number:                4:19CR00015-1
                                                                            )        USM Number:                 22927-021
                                                                            )
                                                                            )
                                                                                     Brian Joseph Huffman, Jr.
THE DEFENDANT:                                                                       Defendant’s Attorney

☒ pleaded guilty to Counts 1 and 3.
☐ pleaded nolo contendere to Count(s)                          which was accepted by the court.

☐ was found guilty on Count(s)                          after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                                    Offense Ended          Count

21 U.S.C. § 846                   Conspiracy to possess with intent to distribute controlled substances                January 8, 2019           1
                                  (50 grams or more of methamphetamine, and quantities of cocaine,
                                  and marihuana)

18 U.S.C. § 922(g)(1)             Possession of a firearm by a prohibited person                                       April 22, 2018            3

      The defendant is sentenced as provided in pages 2 through                  8       of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
☐ The defendant has been found not guilty on Count(s)
☒ Counts 2, 4, and 5 are dismissed as to this defendant on the motion of the United States.
          It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the Court and United States Attorney of material changes in economic circumstances.

                                                                                August 27, 2019
                                                                                Date of Imposition of Judgment




                                                                                Signature of Judge

                                                                                R. Stan Baker
                                                                                United States District Judge
                                                                                Southern District of Georgia
                                                                                Name and Title of Judge

                                                                                 August 30, 2019
                                                                                Date
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                                                                  IMPRISONMENT

          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of: 120
          months. That term consists of 120 months custody as to each of Counts 1 and 3, to be served concurrently. This sentence shall
          be served consecutively to the state probation revocations he is presently serving in Chatham County Superior Court Docket
          Numbers CR152344 and CR152392.

     ☒    The Court makes the following recommendations to the Bureau of Prisons:
          It is recommended that the defendant be given credit toward this federal sentence for all time served in custody since April 22,
          2018, that is not credited toward another sentence. It is also recommended that the defendant be evaluated by Bureau of Prisons
          officials to establish his participation in an appropriate program of substance abuse treatment and counseling, including the
          Residential Drug Abuse Program (RDAP), during his term of incarceration. Designation to either the federal facility in Jesup,
          Georgia, or Estill, South Carolina, is recommended.

     ☒    The defendant is remanded to the custody of the United States Marshal.

     ☐    The defendant shall surrender to the United States Marshal for this district:

         ☐       at                                  ☐     a.m.     ☐ p m.           on                                        .

         ☐       as notified by the United States Marshal.

     ☐    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

         ☐       before 2 p m. on                                                          .

         ☐       as notified by the United States Marshal.

         ☐       as notified by the Probation or Pretrial Services Office.


                                                                        RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                                to

at                                                        , with a certified copy of this judgment.


                                                                                                         UNITED STATES MARSHAL



                                                                                By
                                                                                                      DEPUTY UNITED STATES MARSHAL
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                                                         SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: 5 years as to Count 1 and 3 years as to Count 3, to be
served concurrently .

                                                     MANDATORY CONDITIONS

1.    You must not commit another federal, state, or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to 1 drug test within 15 days of release
      from imprisonment and at least 2 periodic drug tests thereafter, as determined by the court.
      ☐ The above drug testing condition is suspended, based on the court’s determination that you pose a low risk of future
      substance abuse. (Check, if applicable.)
4.    ☒ You must cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
5.    ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
      directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
      works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
6.    ☐ You must participate in an approved program for domestic violence. (Check, if applicable.)
7.    ☐ You must make restitution in accordance with 18 §§ U.S.C. 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (Check, if applicable.)
8.    You must pay the assessment imposed in accordance with 18 § U.S.C. 3013.

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions
on the attached page.
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                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.
  1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
       time frame.
  2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
  3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
       the court or the probation officer.
  4.   You must answer truthfully the questions asked by your probation officer.
  5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
       notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer
       within 72 hours of becoming aware of a change or expected change.
  6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
       officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
  7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
       10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
  8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
       been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
       permission of the probation officer.
  9.   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e. anything that
       was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as a nunchakus or
       tasers).
 11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
       without first getting permission from the court.
 12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified that person about the risk.
 13.   You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provide me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant’s Signature ____________________________________________________                           Date _____________________
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                                        SPECIAL CONDITIONS OF SUPERVISION

  1.       You must submit to substance abuse testing to determine if you have used a prohibited substance. You must not attempt to
           obstruct or tamper with the testing methods.

  2.       You must participate in a substance abuse treatment program and follow the rules and regulations of that program. The
           probation officer will supervise your participation in the program. You must pay the costs of treatment in an amount to be
           determined by the probation officer, based on your ability to pay or availability of third-party payment.

  3.       You must participate in an educational services program and follow the rules and regulations of that program. Such
           programs may include high school equivalency preparation.

  4.       You must submit your person, property, house, residence, office, vehicle, papers, computers (as defined in 18 U.S.C. §
           1030(e)(1)), other electronic communications or data storage devices or media, to a search conducted by a United States
           probation officer. Failure to submit to a search may be grounds for revocation of release. You must warn any other
           occupants that the premises may be subject to searches pursuant to this condition. The probation officer may conduct a
           search under this condition only when reasonable suspicion exists that you have violated a condition of supervision and
           that the areas to be searched contain evidence of this violation. Any search must be conducted at a reasonable time and in a
           reasonable manner.
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                                              CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments.

                 Assessment       JVTA Assessment *                  Fine                                 Restitution
TOTALS           $ 200

☐     The determination of restitution is deferred until                           . An Amended Judgment in a Criminal Case (AO 245C)
      will be entered after such determination.

☐     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
      victims must be paid before the United States is paid.

Name of Payee                                Total Loss**                    Restitution Ordered                   Priority or Percentage




TOTALS

☐     Restitution amount ordered pursuant to plea agreement $

☐     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the schedule of
      payments may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

☐     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     ☐     the interest requirement is waived for the         ☐   fine      ☐ restitution.
     ☐     the interest requirement for the          ☐ fine       ☐ restitution is modified as follows:

* Justice for Victims of trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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                                                        SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A    ☒ Lump sum payment of $200 is due immediately.
          ☐      not later than                                     , or
          ☐      in accordance      ☐ C,        ☐ D,          ☐ E, or    ☐ F below; or
B    ☐ Payment to begin immediately (may be combined with                     ☐ C,          ☐ D, or           ☐ F below); or
C    ☐ Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D    ☐ Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    ☐ Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    ☐ Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

☐     Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.



☐     The defendant shall pay the cost of prosecution.

☐     The defendant shall pay the following court cost(s):

☒     The defendant shall forfeit the defendant’s interest in the following property to the United States:
      Any property that was seized during the investigation, including the firearms listed in the Indictment.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
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                                                 DENIAL OF FEDERAL BENEFITS
                                            (For Offenses Committed On or After November 18, 1988)



FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862(a)

        IT IS ORDERED that the defendant shall be:

☐     ineligible for all federal benefits for a period of                      .

☐     ineligible for the following federal benefits for a period of                       .
      (specify benefit(s))



                                                                      OR
☐     Having determined that this is the defendant’s third or subsequent conviction for distribution of controlled substances,
      IT IS ORDERED that the defendant shall be permanently ineligible for all federal benefits.

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)

      IT IS ORDERED that the defendant shall:

☒     be ineligible for all federal benefits for a period of   5 years         .

☐     be ineligible for the following federal benefits for a period of                    .

      (specify benefit(s))



    ☐      successfully complete a drug testing and treatment program.

    ☐      perform community service, as specified in the probation and supervised release portion of this judgment.

    ☐      Having determined that this is the defendant's second or subsequent conviction for possession of a controlled substance,
           IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service specified in
           this judgment as a requirement for the reinstatement of eligibility for federal benefits.


Pursuant to 21 U.S.C. § 862(d), this denial of federal benefits does not include any retirement, welfare, Social Security, health,
disability, veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or services are
required for eligibility. The clerk is responsible for sending a copy of this page and the first page of this judgment to:

                                U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531
